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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                                )
                                                        )
               v.                                       )
                                                        )    No. 1:18-CR-457-AJT
BIJAN RAFIEKIAN, et al.,                                )
                                                        )
       Defendants.                                      )

          ORDER TO DISMISS COUNTS ONE AND TWO OF THE INDICTMENT

       Upon the motion of the United States Attorney, by John T. Gibbs, Assistant United States

Attorney, made to this Court on September 11, 2023, and for the reasons stated by the

government, good cause having been shown, it is hereby ordered that Counts One and Two of the

indictment in this case are dismissed with prejudice.

        Entered in Alexandria, Virginia, this       day of September 2023.




                                             The Honorable Anthony J. Trenga
                                             United States District Judge
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                                            Respectfully submitted,

                                            JESSICA D. ABER
                                            UNITED STATES ATTORNEY


                                      By:                /s/
               /s/                          John T. Gibbs
Evan N. Turgeon                             Virginia Bar No. 40380
Trial Attorney                              Aidan Grano-Mickelsen
Counterintelligence                         New York Bar No. 5216585
   and Export Control Section               Assistant United States Attorneys
National Security Division                  The Justin W. Williams
United States Department of Justice         United States Attorney=s Office
950 Pennsylvania Ave., NW                   2100 Jamieson Avenue
Washington, DC 20530                        Alexandria, VA 22314
(202) 353-0176                              (703) 299-3700
Evan.Turgeon@usdoj.gov                      (703) 299-3982 (fax)
                                            John.Gibbs@usdoj.gov
                                            Aidan.grano-mickelsen@usdoj.gov




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2023, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to counsel of record.

                                             Respectfully submitted,


                                                    /s/
                                             John T. Gibbs
                                             Assistant United States Attorney




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